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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                               MONROE DIVISION

LLOYD PRICE                                        CIVIL ACTION NO. 17-cv-1069

VERSUS                                             JUDGE DOUGHTY

WAL-MART LOUISIANA L L C ET AL                     MAGISTRATE JUDGE PEREZ-
                                                   MONTES


                                ORDER OF DISMISSAL

        The Court having been advised by counsel for the parties that the above action has

 been settled,

        IT IS ORDERED that this action is hereby DISMISSED, without prejudice to the

 right, upon good cause shown within sixty (60) days of the signing of this Order, to reopen

 the action if settlement is not consummated. The Clerk is now requested to close this case.

        IT IS FURTHER ORDERED that within sixty (60) days of the signing of this

 Order, the parties shall file a Rule 41(a)(1)(A)(ii) stipulation of dismissal signed by all

 parties who have appeared in this action. Any motion that may be pending in this case is

 hereby DENIED AS MOOT.

        THUS DONE AND SIGNED at Monroe, Louisiana, this 4th day of March, 2019.



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                                                  TERRY A. DOUGHTY
                                                  UNITED STATES DISTRICT JUDGE
